Case 20-11909-elf     Doc 11   Filed 04/14/20 Entered 04/14/20 15:19:22     Desc Main
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                   IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: John D. Raysbrook aka John David          CHAPTER 7
Raysbrook
                           Debtor(s)             BKY. NO. 20-11909 ELF


                 ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

 To the Clerk:

        Kindly enter my appearance on behalf of BANK OF AMERICA, N.A. and index same
 on the master mailing list.


                                                Respectfully submitted,
                                            /s/ Rebecca A. Solarz Esquire
                                            Rebecca A Solarz, Esquire
                                            Kevin G. McDonald, Esquire
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